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     LAW OFFICE OF RESHMA KAMATH
1
     RESHMA KAMATH, Cal. Bar No. 333800
2    700 El Camino Real, Suite 120, #1084
     Menlo Park, California 94025, United States
3    Ph.: 650 257 0719, E.: reshmakamath2021@gmail.com
4
     Counsel for Plaintiffs,
5    LOMBARD FLATS, LLC and MARTIN ENG LEE

6    WRIGHT, FINLAY & ZAK, LLP
     T. Robert Finlay, Esq., SBN 167280
7
     Kristina M. Pelletier, Esq., SBN 279533
8    4665 MacArthur Court, Suite 200
     Newport Beach, CA 92660
9    Tel: (949) 477-5050; Fax: (949) 608-9142
10
     Attorneys for Defendant,
11   DEFENDANT FAY SERVICING, LLC

12
                                 UNITED STATES DISTRICT COURT
13
            NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
14
     LOMBARD FLATS, LLC;               )                 Case Number: 3:22-cv-05686-LB
15   NEW OWNERS GROUP, LLC             )
16                                     )                 JOINT CASE MANAGEMENT
            Plaintiffs,                )                 STATEMENT
17                                     )
       vs.                             )
18                                     )                 Case Management Conference
19    JP MORGAN DEFENDANT CHASE        )                 Date: August 15, 2024
     ANK, N.A.                         )                 Time: 11 :00 AM
20    DEFENDANT FAY SERVICING, LLC and )                 Dept: Zoom
     OES                               )
21    1-100, Inclusive                 )                 ACTION FILED: 8/30/2022
22                                     )                 REMOVED:      10/3/2022
             Defendant(s).             )                 FAC FILED:    4/28/2023
23                                     )                 SAC FILED:    8/7/2023
                                       )
24
25
            The parties to the above-entitled action jointly submit this JOINT CASE
26
     MANAGEMENT STATEMENT pursuant to the Standing Order for All Judges of the Northern
27
     District of California and Civil Local Rule 16-9.
28
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1    1.     Jurisdiction & Service.
2           The parties agree that the Court has subject matter jurisdiction over all claims and
3    counterclaims pursuant to 28 U.S.C §§ 1331, 1332 & 1441. No .issues exist regarding personal
4    jurisdiction or venue. All named parties were properly served.

5
6    2.
7
            Plaintiffs filed a Superior Court complaint, Case # CGC-22-601504 on 8/30/22. The
8
      Complaint was removed to this Court on October 3, 2022. Plaintiffs dismissed Defendant Chase
9
      from the case with prejudice on December 14, 2022. This was a prior attorney and Plaintiffs
10
      may have additional claims against Defendant Chase. With several Motions to Dismiss, the only
11
      defendant remaining is Defendant Fay and the Plaintiffs are Lombard Flats, LLC, and Mr.
12
      Martin Eng Lee. The only surviving claims are for violation of the Federal Fair Debt Collections
13
      Practices Act and the California Rosenthal Fair Debt Collections Practices Act. Plaintiffs allege
14
      Defendant Fay engaged in "deceptive" debt collection practices by demanding an inflated loan
15
      amount. Defendant Fay disputes this claim. Upon association of undersigned counsel, Reshma
16
     Karnath, into the afore-captioned matter, Plaintiffs filed a NOTICE OF PENDANCY OF
17
     ACTION pending Sheriff Sale on January 30, 2024 and a Trustee Sale in this matter on February
18
     7, 2024. It is Defendant Fay's position that the Lis Pendens is improper, and it will move to have
19
     it expunged if necessary. The Trustee's Sale set for February 7, 2024 was postponed due to
20
     Plaintiffs' filing for Bankruptcy under Chapter 11 (Case No. 24-30047). Defendant Fay filed a
21
     Motion for Relief from Stay in the Bankruptcy that was granted.
22
             This action was filed on Plaintiffs behalf by attorney Dennis Rasmussen. On or about
23
     March 16, 2023, Mr. Rasmussen withdrew from the case and attorney Matthew Gluck
24
     substituted into the action. On or about May 4, 2023, Mr. Gluck withdrew from the case and
25
     attorney Sarah Shapero substituted into the action. Undersigned counsel Reshma Karnath had to
26
     file a Notice of Association of Counsel because Ms. Shapero was refusing to properly follow
27
     the substitution of attorney protocol, i.e., Shapiro would not sign the substitution form and
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1     notice. On January 16, 2024, this Court granted Ms. Shapero's request to withdraw from the
2     case. Currently, Counsel Reshma Karnath is the counsel of record for Plaintiffs.
3

4    3.      Legal Issues

5            Plaintiffs assert the claims are ripe, justiciable and have the requisite standing to be
6    judicially-determined for the FDCPA and RFDCPA.
7
            Defendant Fay asserts that Plaintiffs' surviving claims fail as a matter oflaw because they
8
     are based on an alleged violation of the Bankruptcy Code. Thus, this Court lacks jurisdiction over
9
     these claims. The claims also fail because Plaintiffs cannot prove any violation by Defendant Fay.
10
11
     4.     Motions.
12
13          Defendant Chase previously filed a Motion to Dismiss that Plaintiffs did not oppose. They

14   then dismissed Defendant Chase from the action with prejudice. Plaintiffs and Defendant Fay
     tried to settle this matter, but no agreement could be reached, Thus, Defendant Fay served a
15
     dismissal demand on Plaintiffs and filed a Motion to Dismiss that was granted with leave to
16
     amend. A First Amended Complaint was filed, and Defendant Fay filed another Motion to
17
     Dismiss that was granted in part and denied in part. Plaintiff New Owners was dismissed from
18
     the action at that time. Plaintiffs Lombard and Martin Eng filed a Second Amended Complaint
19   on August 7, 2023. Dkt 57. Defendants filed a Motion to Dismiss the Second Amended
20   Complaint ("SAC") on August 21, 2023. Dkt 58. The Motion was granted in part and denied in
21   part. In the Court's Order, U.S. Bank Trust National Association, Not in its individual capacity
22   but solely as Owner Trustee for VRMTG Asset Trust was dismissed from the action and

23   Plaintiffs' claim for violation of Business and Professions Code Section 17200 was dismissed.
     Defendant Fay filed an Answer on November 2, 2023. Dkt 66. Following the Motion to Dismiss
24
     the SAC, the sole claims remaining in this action are for violation of the Federal Fair Debt
25
     Collections Practices Act and the California Rosenthal Fair Debt Collections Practices Act.
26
     Defendant Fay filed a Motion for Summary Judgment that is scheduled for August 15, 2024.
27
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                                                Page 3 of7
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             Plaintiffs filed an Ex Parte Application for a TRO to enjoin the recording of the Notice of
1
     Trustee's Sale on November 20, 2023, contesting the reinstatement amount in the Notice of
2
     Default. Dkt 67. On December 21, 2023, the Court denied Plaintiffs' request for a TRO.
3
4
     5.      Amendment of Pleadings
5
6           Plaintiffs filed a Second Amended Complaint on August 7, 2023. Dkt 57.

7
     6.      Evidence Preservation
8
             The parties have reviewed the Guidelines Relating to the Discovery of Electronically
9
     Stored Information. Additionally, the parties have met and conferred pursuant to Federal Rule of
10   Civil Procedure 26(f) regarding reasonable and proportionate steps taken to preserve evidence
11   relevant to the issues reasonable evident in this action.
12
13   7.     Disclosures
14          Defendant Fay served its initial disclosures on Plaintiff January 12, 2023.
15          Plaintiffs have not served initial disclosures, because of the Defendant Fay's trustee sale
16   postponement each time and on-going discovery.
17
18   8.     Discovery
19          Plaintiffs served written discovery on Defendant Fay, responses to which were provided
20   December 18, 2023. Defendant Fay served written discovery on Plaintiffs on March 13, 2024,
21   the responses to which were timely provided.
22   9.     Class Actions
23          Not applicable.
24
25   10.    Related Cases
26
            There are no presently known related cases or proceedings pending before another judge
27
     of this Court or before another Court or Administrative Body.
28
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1
2    11.
3              A.      Plaintiffs' Position: Plaintiffs seek actual, general, special, punitive, treble, and

4    compensatory damages. Also, plaintiffs seek Defendants to set aside trustee sale and/or to
5    postpone until a resolution is reached.
6              B.      Defendant Fay's Position: Defendant Fay denies that Plaintiff is entitled to any
7    relief in this matter, and it _is Defendant Fay's position that Plaintiffs' claims do not support the
8    postponement or rescission of the sale.
9    12.       Settlement and ADR
IO             The parties have attempted to resolve the matter informally. Plaintiffs rejected Defendant
11   Fay's prior offer as being unaffordable and made two counter offers which were rejected.
12   Defendant Fay presented an offer with a deadline to accept of January 24, 2024, which was not
13   accepted. On July 23, 2024, the parties participated in a Mandatory Settlement Conference with
14   Judge Sallie Kim, but no agreement was reached.
15             Plaintiffs were not satisfied with dropping level of judicial conduct at the Mandatory
16   Settlement Conference, and request the MSC be re-done with a different judicial officer. Judge
17   Sallie Kim failed to adhere to settlement conference protocols and procedures.
18
19   13.       Other References

20
               Defendant does not believe this case is suitable for reference to arbitration, a special
21             Master or the Judicial Panel on Multidistrict Litigation.
22             Plaintiff is open to this possibility as well as private mediation.
23
24
     14.    Narrowing of Issues
25
            The parties have not yet identified any issues that may be narrowed by agreement or
26
     motion.
27
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1    15.     Expedited Trial Procedure

2
             The parties do not believe that this case may be handled on an expedited basis.
3
4    16.     Scheduling:
5            On January 22, 2024, the Court entered its Pre-trial Order. The parties do not seek to
6    modify this schedule.
7    17.     Trial
8            At the prior Case Management Conference, this Court held Plaintiffs had waived their
9    right to a jury trial by not making a timely demand. Thus, a Court Trial is set for this matter. In
10   the event Defendant Fay' s Motion for Summary Judgment does not resolve this matter, Defendant
11   Fay believe the trial will last two days.
12
13   18.    Disclosure of Non-party Interested Entities or Persons
14          Plaintiffs have not filed the Certification oflnterested Entities or Persons.
15          Defendant Fay filed its Certification of Interested Entities or Persons on March 3, 2023.
16   19.    Professional Conduct
17
            All attorneys of record have reviewed the Guidelines for Professional Conduct for the
18
     Northern District of California.
19   DATED: August 02, 2024                            LAW OFFICE OF RESHMA KAMATH
20
21                                                      /$~£»Kv %nc?/P£
22                                                     RESHMA KAMATH
                                                       Counsel for Plaintiffs LOMBARD FLATS,
23                                                     LLC, NEW OWNERS GROUP, LLC
24                                                     and MARTIN ENG LEE

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1    Dated: August 2, 2024                 WRIGHT FINLAY & ZAK, LLP
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3
4                                          s/Kristina M Pelletier
                                           Kristina M. Pelletier, Esq.
5                                          Counsel for Defendant,
6                                          FAY SERVICING, LLC

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 1                                    PROOF OF SERVICE
 2
           I, Gretchen Grant, declare as follows:
 3
            I am employed in the County of Orange, State of California. I am over the age of
 4   eighteen (18) and not a party to the within action. My business address is 4665
     MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
 5
     with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
 6   correspondence for mailing with the United States Postal Service. Such correspondence is
     deposited with the United States Postal Service the same day in the ordinary course of
 7
     business. I am aware that on motion of party served, service is presumed invalid if postal
 8   cancellation date or postage meter date is more than one day after date of deposit for
     mailing in affidavit.
 9
         On August 2, 2024, I served the within JOINT CASE MANAGEMENT
10
     STATEMENT on all interested parties in this action as follows:
11
     []    by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s)
12
           addressed as follows:
13
           Reshma Karnath, Esq.
14
           333800 Law Office ofReshma Karnath
15         700 El Camino Real Suite 120, #1084
           Menlo Park, CA 94025
16
           Tel: 650-257-0719
17         Email: reshmakamath2021 (a)gmail.com
           Attorney for Plaintiffs MARTIN ENG, LOMBARD FLATS LLC et al,
18

19   []     (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on thi
20         date following ordinary business practices.

21   []    (BY FEDERAL EXPRESS - NEXT DAY DELIVERY) I placed true and correct
           copies thereof enclosed in a package designated by Federal Express with the
22         delivery fees provided for.
23   [X]   (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to th
24         office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set
           forth above pursuant to Fed.R.Civ.P.5(b)(2)(E). "A Notice of Electronic Filing
25         (NEF) is generated automatically by the ECF system upon completion of an
26         electronic filing. The NEF, when e-mailed to the e-mail address of record in the
           case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
27         copy of the NEF shall be attached to any document served in the traditional manner
28         upon any party appearing prose."
                                                    1
                                       PROOF OF SERVICE
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 1   [X]   (Federal) I declare under penalty of perjury under the laws of the United States of
 2         America that the foregoing is true and correct.

 3
           Executed on August 2, 2024, at Newport Beach, California.
 4
 5             ~~~
                 I
           Grete en Grant
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